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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20536-12-BC
v.                                                            Honorable Thomas L. Ludington

JAMES ANDERSON,

               Defendant.

__________________________________________/


        ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
         DEFENDANT’S PLEA OF GUILTY AS TO COUNT 1 OF THE SECOND
     SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                           UNDER ADVISEMENT

        A plea hearing was conducted on May 23, 2011 by United States Magistrate Judge Charles

E. Binder pursuant to the Defendant’s consent. Judge Binder issued his report on May 24, 2011,

recommending acceptance of Defendant’s guilty plea. Either party may serve and file written

objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

        Accordingly, it is ORDERED that Judge Binder’s report and recommendation [Dkt # 388]

is ADOPTED.
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       It is further ORDERED that the defendant’s guilty plea as to count 1 the second superseding

indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 386] is taken UNDER

ADVISEMENT.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: July 15, 2011

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on July 15, 2011.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS




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